23-06003-KMS Dkt 61 Filed 05/08/25 Entered 05/08/25 11:26:54 Page1of5
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Official Form 417A (12/23)
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NOTICE OF APPEAL AND STATEMENT OF ELECTION PlainXiFF.
.S. BANKRUP
SOUTHERN DISTINCT. OF MSS)
FILED

Part 1: Identify the appellant(s)

MAY ~ 8 2025
1. Name(s) of appellant(s): Ch al sh o?h ay [Oo gL. n & PANNY L. MILLER, CLERK

2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject of thi EPUTY CLERK

appeal:
For appeals in an adversary proceeding. For appeals in a bankruptcy case and not in an
O Plaintitr adversary proceeding.
(Defendant C) Debtor
QC) Other (describe) C) Creditor

C) Trustee
C) Other (describe)

Part 2: Identify the subject of this appeal

1. Describe the judgment—or the appealable order or decree—from which the appeal is taken:
Eimear argment-

2. State the date on which the judgment—or the appealable order or decree—was entered:

Y-as-as
Part 3: Identify the other parties to the appeal

List the names of all parties to the judgment—or the appealable order or decree—from which the appeal is
taken and the names, addresses, and telephone numbers of their attorneys (attach additional pages if
necessary):

1. Party: Ko tom Fant \y Atoney Jeepoey —D : Raw lin 4s

(0, Dok 19784
Mo disow ,mS 34130~ \7 BA

2. Party: Attorney:

Official Form 417A Notice of Appeal and Statement of Election page 1
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Case 1:25-cv-00132-HSO-BWR Document 1-2 Filed 05/08/25 Page 2 of 6

Part 4: Optional election to have appeal heard by District Court (applicable only in
certain districts)

lf a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate Panel will
hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(1), a party elects to have the appeal heard by the
United States District Court. If an appellant filing this notice wishes to have the appeal heard by the
United States District Court, check below. Do not check the box if the appellant wishes the Bankruptcy
Appellate Panel to hear the appeal.

W/Appellant(s) elect to have the appeal heard by the United States District Court rather than by
the Bankruptcy Appellate Panel.

Part 5: Sign below

Date: S - 8-AS

Signature of attorney for appellant(s) (or appellant(s)
if not represented by an attorney)

Name, address, and telephone number of attorney
(or Se a not represented by jan attorney):
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Ney MS WBZAUSA

Phone’, AAS- 3E6S-GeS 2

Fee waiver notice: If appellant is a child support creditor or its representative and appellant has filed the
form specified in § 304(g) of the Bankruptcy Reform Act of 1994, no fee is required.

[Note to inmate filers: If you are an inmate filer in an institution and you seek the timing benefit of Fed.
R. Bankr. P. 8002(c)(1), complete Director's Form 4170 (Declaration of Inmate Filing) and file that
declaration along with the Notice of Appeal.]

Official Form 417A Notice of Appeal and Statement of Election page 2
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SO ORDERED,

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OTL), \
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Judge Katharine M. Samson
United States Bankruptey Judge
Date Signed: April 28, 2025

The Order of the Court is set forth below. The docket reflects the date entered.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF MISSISSIPPI

IN RE: CHRISTOPHER LADALE LANE CASE NO. 19-50681-KMS

DEBTOR CHAPTER 7

KARAM FAMILY, LLC PLAINTIFF/COUNTER-DEFENDANT

YW, ADV. PROC. NO. 23-06003-KMS

CHRISTOPHER LADALE LANE DEFENDANT/COUNTER-PLAINTIFF
FINAL JUDGMENT

Consistent with the Opinion and Order on Complaint to Determine Dischargeability, Adv.
EGF No, 35,

IT IS ORDERED, ADJUDGED AND DECREED that final judgment of
nondischargeability in favor of Plaintiff Karam Family, LLC and against Defendant Christopher
LaDale Lane in the amount of $821,771.44 (Florida Default Judgment amount), plus interest at
the Florida statutory rate (see Fla. Stat. Ann. § 55.03) until the date of this Final Judgment, plus
post-judgment interest at the federal judgment rate from the date of this Final Judgment until paid
(see 28 U.S.C. § 1961), is entered pursuant to Federal Rule of Civil Procedure 58 as applied by

Federal Rule of Bankruptcy Procedure 7058.

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IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the judgment is
excepted from discharge under 1] U.S.C. § 523(a)(4).

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that as to other relief
requested in the Complaint, relief is denied and the complaint is dismissed.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the relief requested
in the Counterclaim by Defendant Christopher LaDale Lane and against Plaintiff Karam Family,
LLC is denied and the Counterclaim is dismissed.

##END OF ORDER##

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Case 1:25-cv-00132-HSO-BWR Document1-2 Filed 05/08/25 Page 5 of 6

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF MISSISSIPPI

IN RE:
Oh 5 La) \ bo CASE NO.
rastophar lLaDale lane 19-<o68\-Kms

Debtor

Joint Debtor (if applicable)

CHAPTER 7
CERTIFICATE OF SERVICE
I hereby certify that on $- 8- aS (date of mailing), I served copies as
follows:

|. Document(s) served:

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2. Served upon [name and address of each person served]:
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D.o, Bok 1784

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3. By First Class Mail.

Dated: §-8-aAS x (EE

(Signature)

Print Name: Aviso? har lade lane
Telephone No. ArB-36S-96s%

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Case 1:25-cv-00132-HSO-BWR Document 1-2

Generated: May 8, 2025 11:22AM

Christopher LaDale Lane

Rept. No: 60000622

cD Transaction

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APPN APPEAL & NOTICE

cD Tender

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CA CASH

Comments: 23-06003-KMS

U.S. Bankruptcy Court

Mississippi Southern Bankruptcy - Gulfport

Trans. Date: May 8, 2025 11:22AM

Case/Party/Defendant

Total Due Prior to Payment:
Total Tendered:
Total Cash Received:

Cash Change Amount:

Filed 05/08/25 Page 6 of 6

Page 1/1

Receipt Date: May 8, 2025 11:22AM

Cashier ID: #FC (3654)

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Only when the bank clears the check, money order, or verifies credit of funds, is the fee or debt officially paid or discharged. A $53 fee

will be charged for a returned check.
